Case 1:12-cr-O0O006-PAE Document 5

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
~v. -
ERVAN PURNELL,
Defendant.
COUNT. ONE

The Grand Jury charges:

1. On or about December 2

District of New York, ERVAN PURNELL,

forcibly assault, resist, oppose, imp

Filed 01/04/12 Page 1 of 2

ORIGINAL
FUDGE CASTEL

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INDICTMENT

= <9 CRIM006

USDC SDNY
DOCUMENT
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DOC #:

DATE FILED: JAN 9.4 2019

3, 2011, in the Southern

the defendant, willfully did
and

ede, intimidate,

interfere with a person designated in Title 18, United States

Code, Section 1114, while such person was engaged in and on

account of the performance of his off

defendant attacked an on-duty United

icial duties; to wit, the

States Office of Veterans

Affairs employee with his cane at a Veterans Affairs Medical

Center facility in the borough of Man
2. The weapon used in the

dangerous weapon and did inflict bodi

Sections llil(a),

hattan.
offense was a deadly and
ly injury.

111(b) and

fr
; / ) ‘y

(Title 18, United States Code,
1114.)
/fOREPERSON :

PREET BHARARA
United States Attorney
Case 1:12-cr-O0006-PAE Document5 Filed 01/04/12 Page 2 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

- Vv. -

ERVAN PURNELL,

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INDICTMENT

11 Cr.
(18 U.S.C. §§ 111(a), 111(b), 1114)

PREET BHARARA
United States Attorney.

A TRUE BILL

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/Foreperson.

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Judge Caste (

Pitman, MIS

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